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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


DINOSAUR FINANCIAL GROUP LLC                   )
470 Park Avenue South                          )
Ninth Floor                                    )
New York, NY 10016                             )
                                               )
SWISS LIFE INVESTMENT                          )
 MANAGEMENT HOLDING AG                         )
General-Guisan-Quai 40                         )
P.O. Box.                                      )
8022 Zurich                                    )
Switzerland                                    )
                                               )
on behalf of themselves and all others         )
similarly situated,                            )
                                               )
              Plaintiffs,                      )
                                               )
                                                      Civil Action No.: 1:22-cv-1860
       v.                                      )
                                               )
CUSIP GLOBAL SERVICES                          )
                                                      CLASS ACTION COMPLAINT
55 Water Street                                )
New York, NY 10041                             )
                                                      JURY TRIAL DEMANDED
                                               )
S&P GLOBAL, INC.                               )
55 Water Street                                )
New York, NY 10041                             )
                                               )
AMERICAN BANKERS ASSOCIATION                   )
1120 Connecticut Ave., NW                      )
Washington, DC 20036                           )
                                               )
FACTSET RESEARCH SYSTEMS INC.                  )
45 Glover Avenue                               )
Norwalk, CT 06850                              )
                                               )
              Defendants.                      )
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        Plaintiffs Dinosaur Financial Group LLC and Swiss Life Investment Management

Holding AG (collectively, “Plaintiffs”), on behalf of themselves and all others similarly situated,

by their attorneys, Competition Law Partners PLLC, Kaplan, Fox & Kilsheimer LLP, and Irell &

Manella LLP, for their Complaint in this action hereby state the following:

  I.    INTRODUCTION

        1.      Defendants CUSIP Global Services (“CGS”), S&P Global, Inc. (“S&P”), and the

American Bankers Association (“ABA”) have conspired for decades to eliminate competition in

the use of CUSIPs—the “CUSIP Use Market,” as defined below. Defendant FactSet Research

Systems Inc. (“FactSet”) recently purchased CGS from S&P and has replaced S&P as a co-

conspirator.

        2.      CUSIP is an acronym that stands for Committee on Uniform Securities

Identification Procedures. As its name implies, a CUSIP is a functional handle to identify a

particular financial instrument. Each CUSIP is a nine-digit number that identifies specific North

American financial instruments and thereby facilitates the processing, clearing, and settlement of

trades of that instrument. Banks, investment funds, public employee pension funds, fund managers,

and other financial institutions (“Financial Institutions”), both in the United States and abroad,

need the CUSIPs to operate their businesses. The Plaintiffs named in this Complaint are Financial

Institutions.

        3.      Historically, S&P and CGS had a direct relationship with Financial Institutions; the

Financial Institutions purchased physical books containing all CUSIP numbers in use. However,

beginning in the 1980s, data vendors in the financial services industry (such as Bloomberg LP)

began providing rich sets of value-added data services, including CUSIPs, directly to Financial

Institutions. As a result, S&P and CGS lost their contractual relationships with Financial




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Institutions and therefore could no longer control the Financial Institutions’ use of the CUSIPs

they received from their Data Vendors. Such uncontrolled use threatened S&P’s monopoly power

over the CUSIP Use Market.

       4.      To forestall that loss of control, S&P and CGS inserted a new clause in their

agreements with the Data Vendors that purported to give S&P and CGS control anew over the use

of CUSIPs by the Financial Institutions. This clause purported to prohibit Data Vendors from

providing CUSIPs to any Financial Institution that did not sign a “license agreement” directly with

S&P. That “license agreement,” in turn, prohibited Financial Institutions from using the CUSIPs

they received from their Data Vendors in any way not specifically allowed by S&P and CGS. And

that contract—which they called a license agreement—also required Financial Institutions to pay

hefty “license fees” to S&P based on bogus and malleable claims that a copyright owned by the

ABA allowed them to impose these restrictions.

       5.      None of S&P, CGS, or the ABA had the legal right, and FactSet does not have the

legal right, to control the use of CUSIPs by Financial Institutions, and therefore had and have no

legal basis to impose either the “license agreements” or the “license fees” on Financial Institutions.

That conduct violated Sections 1 and 2 of the Sherman Act and the Copyright Act.

       6.      The “CUSIP Use Market” (defined below) is not competitive because S&P, CGS,

and the ABA excluded all actual and potential competitors from that market, which in turn allowed

them to impose the so-called “license”-based restrictions and “license fees” on Financial

Institutions. These Defendants could not have engaged in this exploitive conduct and charged these

monopoly rents in a competitive market.




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       7.      FactSet has pledged to continue S&P’s unlawful conduct. It entered the same

conspiracy that S&P participated in for decades, and it is excluding potential competitors from the

CUSIP Use Market and is imposing unlawful license fees on Financial Institutions.

 II.   JURISDICTION AND VENUE

       8.      This is an action (i) for declaratory judgment and restitution arising, in part, under

the United States Copyright Act of 1976, 17 U.S.C. § 101 et seq. (the “Copyright Act”), and (ii)

for injunctive relief and damages under sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2,

and section 4 of the Clayton Act, 15 U.S.C. § 15(a). As to monetary relief, this action seeks to

recover threefold damages, restitution, costs of suit, and reasonable attorneys’ fees.

       9.      This Court has original jurisdiction of these claims under 28 U.S.C. §§ 1331, 1337,

and 1338 and Section 4 of the Clayton Act, 15 U.S.C. § 15.

       10.     This Court has subject matter jurisdiction over this matter pursuant to Section 4 of

the Sherman Act, 15 U.S.C. § 4 and the Copyright Act.

       11.     Defendants’ conduct, as described in this Complaint, was within the flow of, and

was intended to and did have a substantial effect on, the interstate commerce of the United States,

including in this District. During the relevant period, each defendant used the instrumentalities of

interstate commerce to join or effectuate their scheme. The Defendants’ conduct had a direct,

substantial, and reasonably foreseeable effect on interstate commerce.

       12.     Defendants engaged in conduct in the United States that caused direct, substantial,

and reasonably foreseeable and intended anticompetitive effects upon interstate commerce within

the United States.

       13.     This Court has personal jurisdiction over each Defendant, because each

Defendant—throughout the United States and including in this District—has transacted business,




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maintained substantial contacts, and/or committed overt acts in furtherance of its illegal scheme.

The scheme has been directed at, and has had the intended effect of, causing injury to Plaintiffs

and persons and entities residing in, located in, or doing business in this District, the United States

and its territories, and the District of Columbia.

       14.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1400 and

Sections 4(a) and 12 of the Clayton Act (15 U.S.C. §§ 15 and 22) because each Defendant resides,

transacts business, is found, or has agents within this District, and because a substantial part of the

alleged events giving rise to the claims occurred, and a substantial portion of the affected interstate

trade and commerce described below was carried out, in this District.

III.   THE PARTIES

       15.     Dinosaur Financial Group LLC (“Dinosaur”) is a financial institution based in New

York in this District. It provides investment banking, institutional brokerage, and wealth

management services. Dinosaur has entered into a license agreement with S&P and paid license

fees directly to S&P in New York.

       16.     Swiss Life Investment Management Holding AG (“Swiss Life”) is a Switzerland-

based holding company and provider of life insurance and pension solutions and services. Swiss

Life has entered into a license agreement with S&P and paid license fees directly to S&P in New

York; that agreement, and the relationship between Swiss Life and S&P established by the license

agreement, is governed by New York Law.

       17.     Defendant ABA is a trade association for the United States banking industry

organized under Section 501(c)(6) of the Internal Revenue Code. It is headquartered in

Washington, DC.




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       18.     Until March 1, 2022, CGS was owned by S&P and located in New York, New

York. As of March 1, 2022, CGS is owned by FactSet.

       19.     S&P is a provider of financial information and data analytics. It is headquartered in

New York, New York.

       20.     FactSet is a financial data analytics company. It is headquartered in Norwalk,

Connecticut. FactSet is liable for the acts of CGS.

IV.    NATURE OF THE ACTION

   A. The Development of the CUSIP System

       21.     Electronic trading systems require a standardized method for identifying financial

instruments to facilitate the clearing and settlement of trades and other transactions. The

standardized method must ensure that each financial instrument has a unique identifying number

that electronic trading systems can read and process. CUSIPs are the numbering system for trading

in all United States financial instruments.

       22.     The CUSIP numbering system was the product of an industry-wide voluntary

cooperative effort to develop a standard for identifying United States financial instruments. In the

1960s, government regulators, stock exchanges, and private firms recognized a need for such a

standard because the then-new, but already rapidly growing number of, electronic systems

managing the clearing and settlement of trades had no efficient way to identify a particular

financial instrument.

       23.     To remedy this shortcoming, representatives of the Securities and Exchange

Commission (“SEC”), the New York Stock Exchange (“NYSE”), the American Stock Exchange,

the National Association of Securities Dealers, the Association of Stock Exchange Firms, the

Investment Bankers Association, and many financial institutions participated in the development




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of a numbering system under the sponsorship of a committee they collectively formed for that

purpose—the Committee on Uniform Security Identification Procedures (the “CUSIP

Committee”).

        24.     Beginning in 1964, the CUSIP Committee coordinated the development of a

numbering system and the creation of an entity to manage the real-time listing of CUSIPs. The

CUSIP Committee completed the development of the numbering system in 1966. The numbering

system was introduced to the financial markets in 1969.

        25.     United States government agencies soon mandated the use of CUSIPs in regulatory

reporting, effectively making CUSIPs a standard throughout the industry.

        26.     On March 3, 1971, the SEC began using CUSIPs in its electronic data processing

(“EDP”) systems related to certain reporting forms, securities analyses, and the publication of

certain directories.

        27.     In 1971, the SEC required the use of CUSIPs on Form 3, the Initial Statement of

Beneficial Ownership of Securities, and Form N-1R, a form for filing annual reports by

management investment companies.

        28.     In 1974, the ABA established the X9 standards committee to develop and review

standards for the United States financial services industry. In 1979, the committee ratified CUSIP

as a standard for identifying financial instruments.

        29.     In 1977, the Municipal Securities Rulemaking Board (“MSRB”) required the use

of CUSIPs, if assigned, for the processing, clearance, and settlement of inter-dealer transactions in

municipal securities.

        30.     Also in 1977, the Federal Reserve revised Schedule B to Form TA-1 to include a

box designed to ensure accurate entry of CUSIPs.




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       31.     By effectively adopting them as a standard, the United States government gave

CUSIPs a significant advantage over the development of any competing numbering system for

United States financial instruments. Issuers and Financial Institutions that were required to use the

CUSIPs in their regulatory reporting had an absolute need for the CUSIPs and correspondingly

had no need or use for any rival numbering system.

       32.     The United States government has acknowledged that S&P had monopoly control

of the market for financial instrument identification systems. The Department of the Treasury and

the SEC have awarded contracts for issuing identifying numbers to CGS on a sole source basis.

       33.     While financial regulators in the United States government have mandated the use

of CUSIPs in regulatory filings, the Defendants did not and do not have legal authority to control

Financial Institutions’ use of CUSIPs after CGS issues them.

       34.     Neither the Department of the Treasury, the SEC, nor any other government agency

regulates the CUSIP Use Market.

   B. The Relationship Among the ABA, S&P, and CGS

       35.     The ABA asserts that it “owns” the CUSIP numbering system. The ABA claims to

own a copyright to a compilation of data that includes data for every financial instrument

associated with a CUSIP. The basis on which the ABA purports to claim a copyright in the data

compilation is that it allegedly organizes the data in a novel way in that compilation.

       36.     But the ABA’s assertions do not stop there—it further asserts copyright ownership

over every individual CUSIP, as opposed to the database in which they are embodied.

       37.     The ABA contracted the management of the CUSIP numbering system to S&P and

now to FactSet. The ABA states that CGS is operated “for the American Bankers Association.”




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       38.     Within S&P, CGS was the entity responsible for managing the CUSIP numbering

system on a day-to-day basis and will play the same role within FactSet. CGS performs two

functions: it issues new CUSIPs; and it maintains the data compilation over which the ABA claims

a copyright. CGS refers to this compilation as the “CGS Database.”

       39.     Financial Institutions executed license agreements either with CGS or with S&P.

All payments of “license fees” by Financial Institutions—including Plaintiffs—were made to S&P

in New York, not to CGS. The ABA is and will continue to be a third-party beneficiary of those

contracts.

       40.     In November 2020, S&P announced its intent to acquire IHS Markit, Ltd. (“IHS

Markit”), a data and analytics provider headquartered in London that “provides pricing and

reference data, identifiers, financial indices, valuation and trading services, as well as data feeds

and data management solutions.” See European Commission, Mergers: Commission approves

acquisition of IHS Markit by S&P Global, subject to conditions (Oct. 22, 2021),

https://ec.europa.eu/commission/presscorner/detail/en/IP_21_5461. S&P committed to divest

CGS to alleviate the European Commission’s stated concerns about the proposed acquisition. S&P

entered into an agreement with FactSet under which FactSet purchased CGS.

   C. The Structure and Utility of the CUSIPs

       41.     Copyright protection in the United States subsists over creative works—such as

sonnets, movies, and paintings—that result from human creativity. It may also extend to other

works, such as compilations, evincing creativity through subjective selection and arrangement of

components.

       42.     By contrast, the content of each individual CUSIP results not from artistic, literary,

or any other esthetic or subjective consideration. Instead, a convention established more than 50




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years ago strictly determines the format of the CUSIP and each digit within it. The following chart

describes the rigid structure of a CUSIP:




This structure is so rigid and predictable that an issuer knows the CUSIP number of its next issue

before it receives the CUSIP and with no need to hear from CGS. Indeed, injecting novelty,

creativity, or subjectivity into the CUSIP would destroy its utility because electronic trading

systems could no longer identify financial instruments from the CUSIP. This consideration exerts

decisive force over Defendants’ putative claim of copyright, as discussed below.

       43.     The CUSIPs also are an integral element of International Securities Identification

Numbers (“ISINs”), which are 12-character numeric codes that identify securities around the

world. ISINs for United States financial instruments incorporate the CUSIPs. Any entity outside

the United States that trades the stock of a United States company on a foreign exchange must use

the CUSIPs as an element of the ISIN that identifies that company’s stock.




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       44.     Plaintiffs do not challenge the legality of the CUSIPs as the numbering system for

financial instruments in the United States, nor do they challenge S&P’s, CGS’, or FactSet’s right

to issue CUSIPs for new financial instruments. Plaintiffs’ challenge focuses on Defendants’

leveraging their control of the issuance of CUSIPs into their unlawful control of the use of CUSIPs

thereafter and their unlawful collection of “license fees” from Financial Institutions.

   D. S&P Transformed a Staid, Lawful Business into a Behemoth that Unlawfully Exploits
      Financial Institutions

       45.     After the CUSIP numbering system was formed in 1968, S&P operated a

dependable utility business in its CGS subsidiary. S&P distributed CUSIP numbers in physical

books to financial institutions. The books contained a limited amount of information about each

financial instrument that was linked to a CUSIP: the issuer number, issuer name, issue name, and

CUSIP.

       46.     S&P sold the books on a subscription model. Each customer bought a new book

each year. S&P issued paper updates to the books throughout the year. At the end of the year, S&P

required that subscribers return the books and paper updates, after which the subscribers would

receive the next year’s books. Under this physical distribution model, S&P purported to control

the dissemination of the CUSIPs after issuance merely by controlling the physical books, and

thereafter the CD-ROMs that later replaced the books.

       47.     However, in the 1980s sophisticated data vendors began to distribute rich sets of

financial markets’ data, including CUSIPs, directly to Financial Institutions. This innovation

disintermediated the direct contractual relationship S&P had enjoyed with Financial Institutions in

the distribution of CUSIPs. The data vendors’ distribution of CUSIPs directly to Financial

Institutions meant that the Financial Institutions could use the CUSIPs without paying a fee to

S&P. To reassert control over the use of CUSIPs, to ensure that it would face no competition in



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the CUSIP Use Market, and to reap even higher amounts of “license fees,” S&P changed its

business model.

       48.     This change in the business model coincided with a drive within S&P to increase

year-over-year revenue by double digits. That goal put CGS in a dilemma because its numbering

system was a utility. Dramatic price increases to existing subscribers were not feasible.

       49.     S&P and CGS solved this dilemma by scrapping the historical subscription model

in favor of a “license” model. Now, S&P also would seek a license from Financial Institutions on

the false premise that receiving CUSIPs from data vendors resulted in Financial Institutions

collecting— or “databasing”—CUSIPs, which in turn allegedly infringed the ABA’s compilation

copyright.

       50.     Beginning in the 1980s, S&P demanded that Financial Institutions enter into license

agreements with S&P for their use of CUSIPs. Financial Institutions understandably saw no need

to enter into license agreements with S&P because they already were using CUSIPs as part of the

data they obtained from their data vendors.

       51.     S&P attempted to break that resistance among Financial Institutions by flexing its

market power to force them to enter into license agreements. To that end, S&P inserted into its

contracts with data vendors clauses that required the data vendors to cut off access to the CUSIPs

for any Financial Institution that did not enter into a license agreement with S&P.

       52.     S&P also used its market power in its other offerings to coerce Financial Institutions

to enter a CUSIP license. S&P is a credit-rating agency that issues ratings for both government

debt and company debt (public and private). As the largest of only three credit-rating agencies in

the United States, S&P is a source of ratings data for Financial Institutions that trade, manage, or

research debt offerings. S&P used its market power in ratings data to coerce Financial Institutions




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into accepting a CUSIP license by refusing to provide its ratings data to Financial Institutions

unless they entered into license agreements with S&P for use of the CUSIPs.

       53.     These coercive and exclusionary tactics were effective. Today, nearly every

significant Financial Institution, and many small ones, have entered into a license with S&P for

use of the CUSIPs.

       54.     By re-establishing their control of the use of CUSIPs in the downstream market

after issuance, S&P and CGS also foreclosed an alternative avenue for potential competitors to

enter that CUSIP Use Market.

       55.     Electronic systems, including those the SEC has used for public filings, allowed

potential competitors lawfully to accumulate all of the CUSIPs in use by capturing and storing in

their own data systems each CUSIP as it appeared on the website of a federal agency, and thus

compete with Defendants in providing databases of all issued CUSIPs.

       56.     To eliminate this threat, S&P and CGS tried to identify entities that had

accumulated an inventory of CUSIPs. They then threatened these entities with litigation and the

loss of access to CUSIPs for the entity’s own use if it did not destroy its inventory of CUSIPs.

S&P and CGS also threatened these potential competitors with the loss of S&P’s rating data if they

did not destroy their inventory of CUSIPs. These threats prevented potential competitors from

entering the CUSIP Use Market.

   E. S&P and CGS Executed and Enforced Their Exclusionary Conduct in Non-
      Negotiable Contractual Provisions

       57.     As described above, S&P and CGS required data vendors and Financial Institutions

to execute written agreements that unlawfully excluded, and continue to exclude, competitors from

the CUSIP Use Market. This allowed S&P and CGS to impose supra-competitive prices evidenced

by the “license fees.”



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       1. The Data Vendor Agreements

       58.     S&P and CGS prohibited data vendors from providing the CUSIPs to any Financial

Institution that used CUSIPs and refused to sign a license agreement with S&P. These terms in the

data vendors’ agreements with S&P and CGS were non-negotiable. This requirement posed a very

real threat. S&P and CGS demanded that data vendors cut off Financial Institutions’ use of the

CUSIPs, thereby jeopardizing the ability of those financial institutions to conduct their businesses.

       59.     S&P and CGS forced the data vendors to agree to these provisions by threatening

them with the loss of access to the CUSIPs and S&P ratings data. These threats guaranteed that

substantially all data vendors agreed to these contract terms, which harmed competition by forcing

data vendors to be the enforcement arm of S&P’s and CGS’ unlawful conduct. S&P and CGS

thereby created a group boycott by the data vendors—who were horizontal competitors of each

other and of S&P (itself a data vendor)—of Financial Institutions that refused to enter into license

agreements with S&P to use the CUSIPs.

       60.     The horizontal group boycott had the exclusionary effect of harming competition

in the CUSIP Use Market by eliminating the entry of potential competitors into that market.

       2. The Financial Institution Agreements

       61.     S&P required that each Financial Institution enter into two agreements: a

“Subscription Agreement” and a “Use of Services Statement.” Between them, the two agreements

effectively prohibited Financial Institutions from using CUSIPs in any way not specifically

permitted by S&P and CGS.

       62.     The Subscription Agreement (“SA”) prohibits Financial Institutions from

publishing, distributing, or disseminating the CUSIPs, meaning that the agreement on its face

purports to bar Financial Institutions from using publicly available information. The SA further




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requires Financial Institutions to agree to “protect the CUSIPs" after the SA expires, meaning that

the SA purports to control how Financial Institutions use the CUSIPs even after the SA expires.

        63.    The Use of Service Statement (“USS”) dictates Financial Institutions’ permitted

use of CUSIPs. This requires each Financial Institution to report how many CUSIPs it maintains

in its databases. S&P and CGS used that information to set the level of their fee to the Financial

Institution.

        64.    The specific language, to which S&P and CGS did not allow any changes, is as

follows:

    Subscriber agrees and acknowledges that the CUSIP Database and the information contained
    therein is and shall remain valuable intellectual property owned by, or licensed to, CUSIP
    Global Services (“CGS”) and the American Bankers Association (“ABA”), and that no
    proprietary rights are being transferred to Subscriber in such materials or in any of the
    information contained therein. Any use by Subscriber outside of the clearing and settlement of
    transactions requires a license from CGS, along with an associated fee based on usage.
    Subscriber agrees that misappropriation or misuse of such materials will cause serious damage
    to CGS and ABA, and that in such event money damages may not constitute sufficient
    compensation to CGS and ABA; consequently, Subscriber agrees that in the event of any
    misappropriation or misuse, CGS and ABA shall have the right to obtain injunctive relief in
    addition to any other legal or financial remedies to which CGS and ABA may be entitled.

    Subscriber agrees that Subscriber shall not publish or distribute in any medium the CUSIP
    Database or any information contained therein or summaries or subsets thereof to any person
    or entity except in connection with the normal clearing and settlement of security transactions.
    Subscriber further agrees that the use of CUSIP numbers and descriptions is not intended to
    create or maintain, and does not serve the purpose of the creation or maintenance of, a master
    file or database of CUSIP descriptions or numbers for itself or any third party recipient of such
    service and is not intended to create and does not serve in any way as a substitute for the CUSIP
    MASTER TAPE, PRINT, DB, INTERNET, ELECTRONIC, CD‐ROM Services and/or any
    other future services developed by the CGS.

        65.    S&P’s and CGS’ agreements preclude Financial Institutions from using the CUSIPs

without signing a license agreement with S&P. The agreements also preclude Financial Institutions

from competing in the market for the use of CUSIPs and further undermine Financial Institutions’

potential challenge to Defendants’ anticompetitive conduct, including by requiring that Financial




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Institutions “admit” the validity of Defendants’ claims of ownership and protection of intellectual

property in the CUSIPs.

   F. Defendants’ Copyright Justifications for the Agreements Are Invalid

       66.     S&P and CGS based the requirement of license agreements with Financial

Institutions for the use of CUSIPs on the ABA’s claimed copyright. Yet, the CUSIPs are not

protected as a matter of United States copyright law.

       1. CUSIPs Are Not Copyrightable

       67.     A CUSIP is a nine-digit number, and each CUSIP is a number that has been known

to humanity literally for millennia. Mathematicians, scientists, teachers, and financial markets’

participants use numbers every day that happen to coincide with CUSIP numbers. Yet, Defendants

assert that the ABA has copyrighted those numbers and therefore can control the use of those

numbers. That assertion is legally baseless.

       68.     Numbers used for identification (“identifying numbers”), such as parts numbers or

CUSIPs, stand outside copyright protection because they lack the originality and creativity that is

a constitutional and statutory requirement for copyright protection. Indeed, extending copyright

protection to such numbers would unduly interfere with the legitimate use of the numbers in

question. If such a copyright were allowed, any use of the number would potentially infringe the

copyright. CUSIPs lack originality and creativity by design. Each part of the sequence of

characters making up a CUSIP is dictated by the long-standing convention of the numbering

system, and the utility of CUSIPs depends on S&P, CGS, and FactSet slavishly adhering to that

system. CUSIPs would lose their utility were S&P, CGS, or FactSet to inject any subjectivity,

originality, or creativity into them because electronic systems could not then read and process

CUSIPs to identify the underlying financial instruments.




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        2. Even If the CGS Database Were Copyrightable, Its Protection Would Not Extend
           to the CUSIP Numbers

        69.        The CGS Database is comprised of publicly available data. Plaintiffs do not

concede that the CGS Database is copyrightable, but even were the CGS Database legitimately

subject to copyright, its protection would not extend to the CUSIP numbers. Even if valid, the

ABA’s copyright in the CGS Database would protect only the data compilation in the form in

which it has resided on S&P’s and CGS’ servers, comprising the selection and arrangement of

those components as a whole. That copyright would not protect the individual pieces of data within

the compilation.

        70.        Thus, a Financial Institution could infringe that copyright only if it copied the

selection and arrangement of the entire compilation. There is no infringement of the compilation

copyright by using individual pieces of data in the compilation, such as one or more CUSIPs.

        71.        For these reasons the ABA’s copyright in the CGS Database—even if it is valid,

which Plaintiffs do not concede—would not prevent financial institutions from using the CUSIPs

in their businesses.

    G. Regardless of Any Fees from an Issuer for the Generation of a CUSIP, Defendants
       Are Not Entitled to Further Fees from Financial Institutions for the Use of CUSIPs

        72.        S&P and CGS collected fees from issuers of financial instruments for the individual

CUSIPs CGS generated for those new financial instruments. Plaintiffs do not challenge those fees

in this lawsuit.

        73.        Nonetheless, S&P was not, and FactSet and CGS are not, entitled to receive license

fees from Financial Institutions for the use of CUSIPs.

        74.        Issuers pay a relatively small fee based on the number of financial instruments they

issue. An issuer of a large number of financial instruments may pay a lower price based on volume




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discounts, but the fees are simple, as is the sales process. Conversely, the illegal “license fees”

S&P and CGS imposed on Financial Institutions are substantial.

       75.     S&P’s and CGS’ business of selling so-called “licenses” to Financial Institutions

was elaborate and calibrated to the resistance level of the Financial Institution. This is one area

where S&P and CGS were creative. At the first level, S&P and CGS set the license fees to each

Financial Institution for use of the CUSIPs at a level just below what S&P and CGS believed

would motivate the Financial Institution to challenge the fees. Because the CUSIPs were a critical

element of an investment company’s business, virtually all of S&P’s and CGS’ sales targets agreed

to pay the license fees.

       76.     Next, if a target Financial Institution initially refused to pay the fees, the sales

employees threatened the Financial Institution that it would be cut off from the CUSIPs to the

extent that it did not pay. This threat was sufficient to browbeat virtually all holdouts to sign a

license and pay the license fees.

       77.     Most interesting was the third tier of escalating threats: if the sales employees

determined that a particular target Financial Institution would challenge the need for a license in

court rather than pay, the employees were trained to back off and reengage with that target at a

later time. This course of conduct confirms that S&P and CGS had no confidence in their claims

of copyright. It gave S&P and CGS time to determine the optimum time and method of re-

engaging, which S&P and CGS did as they pursued the conspiracy to eliminate competition in the

CUSIP Use Market.

       78.     Nearly every Financial Institution that trades or manages United States financial

instruments was and is paying “license fees” to S&P and CGS, and now to FactSet. Because

Defendants had and have no legal right to demand or collect any money on the basis that they are




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“licensing” anything to a Financial Institution, the entire amount of the license fees is the measure

of overcharge. On information and belief, the amount of the overcharge the Financial Institution

Class is paying amounts to more than $100 million dollars per year.

 V.    RELEVANT MARKET AND DEFENDANTS’ MARKET POWER

       79.      The relevant product market is the market for using CUSIPs after initial issuance

(the CUSIP Use Market). Because identifiers of financial instruments are national in scope,

identifiers of non-United States financial instruments are not used to identify United States

financial instruments. Thus, only the use of identifiers of United States financial instruments

(CUSIPs) are included in the relevant product market.

       80.      The relevant geographic market is the United States.

       81.      S&P had a 100% share in the CUSIP Use Market, as does FactSet today. At all

relevant times S&P had and FactSet has monopoly power in the CUSIP Use Market.

       82.      Alternative numbering systems are inadequate substitutes for CUSIPs.

       83.      The existence of other identifiers did not constrain S&P’s and CGS’ ability to raise

or maintain prices of licenses for use of CUSIPs without losing substantial sales and does not

constrain FactSet’s ability to do the same now.

       84.      S&P and CGS had the power to exclude competition in and maintain supra-

competitive prices for licenses for the use of CUSIPs paid by Financial Institutions without losing

substantial sales to potential rivals. FactSet now has that same power to exclude. S&P’s long

history of charging supra-competitive prices and excluding competitors demonstrates this

monopoly power.

       85.      A small but significant, non-transitory price increase in CUSIP licenses would not

cause, and has not caused, a significant loss of sales to potential rivals to make such a price increase




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unprofitable. Thus, the pricing of licenses for the use of CUSIPs does not exhibit significant,

positive cross-elasticity of demand with respect to prices charged by any other entity.

        86.       There are no natural barriers to entry into the CUSIP Use Market, but Defendants’

anticompetitive exclusionary conduct has created substantial unnatural barriers to entry.

VI.     CLASS ACTION ALLEGATIONS

        87.       Pursuant to Federal Rules of Civil Procedure 23(a) and (b)(3), Plaintiffs bring this

action for themselves and on behalf of a class.

        88.       The class is a “Financial Institution Class:”

                  All persons or entities (other than data vendors) that directly paid a so-called
                  “license fee” to S&P or FactSet pursuant to the Subscription Agreement and
                  the Use of Services Statement at any time beginning at least four years prior
                  to the filing of this Complaint until the anticompetitive acts end (the “Class
                  Period”).

        89.       Excluded from the Financial Institution Class are governmental entities,

Defendants, any parent, subsidiary or affiliate thereof, Defendants’ officers, directors, employees,

and immediate families thereof, any legal representative, heir, or assign of any Defendant, and any

person acting on their behalf, any judicial officer presiding over or assigned to hear any aspect of

this action and the members of his/her immediate family and judicial staff, and any juror assigned

to this action.

        90.       The Financial Institution Class is readily ascertainable, and the members of the

Class are readily identifiable from information and records maintained by S&P, CGS, and FactSet.

        91.       Members of the Financial Institution Class are so numerous that joinder of all

members is impracticable. The members of the Class are numerous and widely dispersed

throughout the United States and around the world.




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       92.       Plaintiffs’ claims are typical of the claims of the members of the Financial

Institution Class. Within the Class, Plaintiffs’ interests are not antagonistic to the claims of the

other members of the Class, and there are no material conflicts with any other members of the

Class that would make class certification inappropriate. Plaintiffs and all members of the Financial

Institution Class were damaged by the same wrongful conduct of Defendants.

       93.       Plaintiffs will fairly and adequately protect and represent the interests of the

members of the Financial Institution Class. The interests of the Plaintiffs are coincident with, and

not antagonistic to, those of the members of the Class.

       94.       Plaintiffs are represented by counsel (Competition Law Partners PLLC and Kaplan

Fox & Kilsheimer LLP) who are experienced and competent in the prosecution of class action

litigation, and who have particular experience with class action litigation involving alleged

violations of antitrust law in the financial services industry. Plaintiffs are further represented by

counsel (Irell & Manella LLP) who have particular experience with U.S. copyright doctrine.

       95.       Questions of law and fact common to the members of the Financial Institution Class

predominate over questions that may affect only individual Class members because Defendants

have acted on grounds generally applicable to the entirety of the Class, thereby determining

damages with respect to the Class as a whole is appropriate. Such generally applicable conduct is

inherent in Defendants’ wrongful conduct.

       96.       There are legal and factual questions common to the Financial Institution Class,

which do not vary from Class member to Class member and which may be determined without

reference to individual circumstances of any Class member. These include, but are not limited to,

the following:

                 (a)    Whether CUSIPs are copyrightable;




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              (b)     Even were an item of data included in a copyrighted data
                      compilation, whether it is protected by the copyright when it is
                      removed from the compilation;

              (c)     Whether S&P and CGS had, and FactSet and CGS have, monopoly
                      power in the CUSIP Use Market;

              (d)     Whether the contractual restrictions on data vendors have furthered
                      monopolization of the CUSIP Use Market;

              (e)     Whether the contractual restrictions on data vendors have
                      constituted an unreasonable restraint of trade;

              (f)     Whether S&P’s and CGS’ tie of data vendors’ access to S&P’s
                      ratings data to required licenses for Financial Institutions to use
                      CUSIPs furthered their monopolization of the CUSIP Use Market;

              (g)     Whether S&P’s and CGS’ tie of data vendors’ access to S&P’s
                      ratings data to required licenses for Financial Institutions to use
                      CUSIPs was an unreasonable restraint of trade;

              (h)     Whether Defendants’ conduct caused supra-competitive prices for
                      the CUSIP licenses;

              (i)     Whether, and to what extent, the conduct of Defendants caused
                      injury to Plaintiffs and other members of the Class;

              (j)     What is the appropriate measure of damages;

              (k)     Whether the alleged conspiracies alleged herein violated Section 1
                      of the Sherman Act, 15 U.S.C. § 1;

              (l)     Whether the alleged monopolization violated Section 2 of the
                      Sherman Act, 15 U.S.C. § 2; and

              (m)     Whether the Class is entitled to the injunctive relief sought.

       97.    Class action treatment is a superior method to other available methods for the fair

and efficient adjudication of the controversy. The prosecution of separate actions by individual

members of the Financial Institution Class would impose heavy burdens on the courts and



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Defendants and would create a risk of inconsistent or varying adjudications of the questions of law

and fact common to the Class. Class action treatment will permit a large number of similarly

situated persons or entities to prosecute their common claims in a single forum simultaneously,

efficiently, and without the unnecessary duplication of evidence, effort, or expense that numerous

individual actions would engender, and would assure uniformity of decision as to persons similarly

situated without sacrificing procedural fairness or bringing about other undesirable results. The

benefits of proceeding through the class mechanism, including providing injured persons or

entities a method for obtaining redress on claims that could not practicably be pursued individually,

substantially outweigh any potential difficulties in management of this class action.

       98.     Plaintiffs know of no special difficulty to be encountered in the maintenance of this

action that would preclude its maintenance as a class action.

VII.   THE ANTICOMPETITIVE EFFECT OF DEFENDANTS’ CONDUCT

       99.     During the Class Period, S&P and CGS engaged, and FactSet now engages, in

exclusionary conduct by (a) mandating that data vendors cut off Financial Institutions’ access to

the CUSIPs if Financial Institutions did not enter into the unlawful agreements to license use of

CUSIPs; and (b) threatening to cut off a data vendor’s access to CUSIPs and to S&P’s ratings data

if that data vendor refused to impose on Financial Institutions a requirement to enter into unlawful

agreements to license use of CUSIPs, thereby foreclosing actual and potential competitors from

any meaningful opportunity to enter the CUSIP Use Market. S&P and CGS further engaged, and

now FactSet engages, in exclusionary conduct during the Class Period by forcing Financial

Institutions to enter into “license agreements,” thereby foreclosing potential competitors from any

meaningful opportunity to enter the CUSIP Use Market. This exclusionary conduct barred

competitors from the CUSIP Use Market for reasons other than competition on the merits. S&P




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 and CGS thereby were unlawfully to maintain and perpetuate their monopoly in the CUSIP Use

 Market.

        100.    S&P’s and CGS’ conduct, and now FactSet’s conduct, has raised the price of

 CUSIPs to supra-competitive levels.

        101.    S&P and CGS extracted from Financial Institutions, on information and belief, at

 least one hundred million dollars each year of unjustified and supra-competitive charges that they

 would not have obtained absent their unlawful scheme.

        102.    Defendants’ unlawful conduct harmed and continues to harm competition by

 preventing competition in the CUSIP Use Market, thereby depriving Financial Institutions of the

 benefits of greater variety and increased competitive choices at lower prices, by stifling innovation

 that would exist in a competitive market, and by diverting financial resources to the Defendants

 that would otherwise be used by data vendors and Financial Institutions to innovate and improve

 their own services. These anticompetitive effects ultimately result in higher costs and lower

 returns to Financial Institutions.

        103.    Financial Institutions, including Plaintiffs, will continue to suffer such injury unless

 the relief sought in this Complaint is granted.

VIII.   CLAIMS FOR RELIEF

                                       First Claim for Relief

  (Declaratory Judgment and Restitution Under the Declaratory Judgment Act, 28 U.S.C. §
          2201 and the United States Copyright Act Of 1976, 17 U.S.C. § 101 et seq.

        104.    Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

        105.    During the relevant period, Defendants have asserted (and continue to assert) a

 claim of copyright to CUSIP numbers, which are not entitled to copyright under the Copyright Act

 of 1976, 17 U.S.C. §101 et seq.



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         106.   Declaratory judgment is appropriate under the Declaratory Judgment Act,

28 U.S.C. §2201 to declare the rights of Plaintiffs by declaring that Defendants had (and have) no

valid claim of copyright in and to the CUSIP numbers.

         107.   Because 28 U.S.C. § 2202 empowers this Court to grant, “necessary or proper relief

based on a declaratory judgment or decree . . . after reasonable notice and hearing, against any

adverse party whose rights have been determined by such judgment,” Plaintiffs are entitled

restitution for all fees paid to Defendants during the past three years pursuant to the invalid “license

agreements” that S&P and CGS imposed.

                                      Second Claim for Relief

                   (Conspiracy in Violation of Section 1 of the Sherman Act)

         108.   Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

         109.   During the relevant period, S&P, CGS, and the ABA conspired and FactSet is now

conspiring to impose on Financial Institutions, including Plaintiffs, unlawful license fees in

violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

         110.   The conspiracy harmed Financial Institutions, including Plaintiffs, as set forth

above.

         111.   The conspiracy constituted a per se violation of Section 1 of the Sherman Act.

         112.   During the relevant period, S&P and CGS leveraged, and now FactSet is

leveraging, the ABA’s purported copyright to require the execution of the data vendor agreement,

SA, USS, and CUSIP license (collectively, the “Unlawful Agreements”). The Unlawful

Agreements constituted an illegal restraint of trade or commerce in the United States CUSIP Use

Market and a continuing violation of the Sherman Act.




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       113.    As a direct and proximate result of the S&P’s, CGS’, and the ABA’s

anticompetitive conduct, and now FactSet’s anticompetitive conduct, as alleged herein, Financial

Institutions, including Plaintiffs, were harmed and sustained substantial losses and damage to their

businesses and property as set forth above.

       114.    S&P’s, CGS’, the ABA’s, and FactSet’s agreements were a combination, contract,

or conspiracy undertaken to produce adverse anticompetitive effects, in violation of Section 1 of

the Sherman Act, 15 U.S.C. § 1.

                                     Third Claim for Relief

           (Exclusionary Contracts in Violation of Section 1 of the Sherman Act)

       115.    Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

       116.    During the relevant period, S&P and CGS, and now FactSet have leveraged and are

now leveraging the ABA’s purported copyright, requiring the execution of Unlawful Agreements

that unreasonably have restrained and are restraining trade or commerce in the United States

CUSIP Use Market in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       117.    The Unlawful Agreements harmed Financial Institutions, including Plaintiffs, as

set forth above.

       118.    The Unlawful Agreements constituted an illegal restraint of trade or commerce in

the United States CUSIP Use Market and a continuing violation of the Sherman Act.

       119.    There was and is no legitimate procompetitive justification for the Unlawful

Agreements that outweighs their harmful effect. Even if there were some justifications, the

Unlawful Agreements were not necessary to achieve such a purpose, nor were they the least

restrictive means of achieving any such purpose.




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        120.    As a direct and proximate result of S&P’s, CGS’, the ABA’s, and now FactSet’s,

anticompetitive conduct, as alleged herein, Financial Institutions, including Plaintiffs, have been

harmed and have sustained substantial losses and damage to their businesses and property as set

forth above.

        121.    S&P’s, CGS’, the ABA’s, and FactSet’s agreements were and are a combination,

contract, or conspiracy undertaken to produce adverse anticompetitive effects, in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1.

                                      Fourth Claim for Relief

                 (Group Boycott in Violation of Section 1 of the Sherman Act)

        122.    Plaintiffs hereby incorporate by reference the preceding paragraphs of this

Complaint.

        123.    S&P, CGS, and the ABA agreed among themselves and forced data vendors to

agree to refuse to deal with Financial Institutions, including Plaintiffs, unless Financial Institutions,

including Plaintiffs, signed a license agreement with S&P.

        124.    The purpose and effect of this group boycott was to restrain competition in the

United States CUSIP Use Market.

        125.    Financial Institutions, including Plaintiffs, were harmed and are being harmed by

S&P’s, CGS’, the ABA’s, and FactSet’s conduct because they were deprived and are being

deprived of a competitive market in which to obtain CUSIPs for use after their initial issuance, and

as a result had to pay license fees that were and are unwarranted and unlawful.

        126.    S&P’s, CGS’, the ABA’s, and FactsSet’s conduct was and is a substantial factor in

causing Plaintiffs’ harm.




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                                         Fifth Claim for Relief

                   (Monopolization in Violation of Section 2 of the Sherman Act,
                       Unlawful Maintenance of Monopoly Power)

       127.   Plaintiffs hereby incorporate by reference the preceding paragraphs of this

Complaint.

       128.   During the relevant period, S&P, CGS, and the ABA, and now FactSet willfully

and unlawfully maintained, and FactSet is maintaining, their monopoly power in the United States

CUSIP Use Market by engaging in exclusionary conduct that discouraged rather than encouraged

competition on the merits. As explained in detail above, S&P, CGS, and the ABA excluded other

potential competitors from entry into the United States CUSIP Use Market.

       129.   The goal, purpose, and effect of S&P’s, CGS’, and the ABA’s conduct, and now

FactSet’s conduct, was and is to maintain and extend S&P’s CGS’ and FactSet’s monopoly power.

Defendants’ illegal conduct enabled S&P and CGS to obligate Financial Institutions, including

Plaintiffs, to execute the SA, USS, and CUSIP license.

       130.   As a result of the illegal conduct, as alleged herein, Financial Institutions, including

Plaintiffs, were deprived and are being deprived of a competitive market in which to obtain data

and CUSIPs and as a result have paid supra-competitive prices.

       131.   The scheme was and is an act of unlawful monopolization of the CUSIP Use Market

in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs seek judgment awarding then the following relief:

       a.     An order declaring that Defendants have engaged in anticompetitive conduct in

              violation of Sections 1 and 2 of the Sherman Act;




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b.    An order declaring that this action may proceed as a class action on behalf of a

      class of Financial Institutions;

c.    An order declaring that the CUSIPs are not copyrightable;

d.    An injunction prohibiting Defendants from claiming that CUSIPs are

      copyrightable;

e.    Restitution of fees paid by Financial Institutions, including Plaintiffs;

f.    An order declaring that the SA and USS are unenforceable;

g.    An injunction prohibiting enforcement of the SA and USS;

h.    An order declaring that Defendants may not impose fees on Financial Institutions,

      including Plaintiffs, that obtain their data from a data vendor;

i.    An injunction prohibiting the imposition of fees by Defendants on Financial

      Institutions, including Plaintiffs, for the use of CUSIPs after their initial issuance;

j.    Damages (i.e., three times the amount of the overcharge) for Financial

      Institutions, including Plaintiffs, in an amount to be determined at trial;

k.    Attorneys’ fees and costs of suit; and

l.    Such other further relief as allowed by law.




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                                       JURY DEMAND

      Plaintiffs request a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure.




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 Dated: March 4, 2022                Respectfully submitted,


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